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 3
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 4   Telephone: (916) 422-4022
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                 )
 9   UNITED STATES OF AMERICA,                   ) Case No.: 2:15-cr-00177-GEB
10                                               )
                   Plaintiff,                    ) DEFENDANT’S STIPULATION AND
11                                               ) [PROPOSED] ORDER
            vs.                                  )
12                                               )
     JASON MATECKI,                              )
13                                               )
14                 Defendant.                    )
                                                 )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Status Conference scheduled for April 1, 2016, at 9:00 a.m. is continued to April 8, 2016,
18   at 9:00 a.m. in the same courtroom for a Change of Plea Hearing as to Mr. Matecki only.
19   Joshua Sigal, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
20   attorney, agree to this continuance. The parties submit that the ends of justice are served
21   by the Court excluding such time, so that counsel for each defendant may have
22   reasonable time necessary for effective preparation, taking into account the exercise of
23   due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
24
25   IT IS SO STIPULATED.
26
27   DATED: March 31, 2016                            By:    /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
28                                                           Attorney for Jason Matecki


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 1
     DATED: March 31, 2016                         BENJAMIN B. WAGNER
 2                                                 United States Attorney
 3                                           By:    /s/ Thomas A. Johnson for
                                                   JOSHUA SIGAL
 4                                                 Assistant United States Attorney
 5   IT IS SO ORDERED.
 6        Dated: March 31, 2016
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